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Attorney for Plaintiff
LEISA WHITTUM

                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA

                                          :
LEISA WHITTUM,                            :
                                            Civil Action No.: ______
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
CASH 1, LLC,                              :
                                            COMPLAINT
                                          :
                    Defendant.            :
                                          :
                                          :

      For this Complaint, the Plaintiff, LEISA WHITTUM, by undersigned

counsel, states as follows:


                                 JURISDICTION

      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone
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without consent, thereby violating the TCPA.

      2.     This action also arises out of Defendant’s violations of Nevada

Revised Statutes Chapter 604A.010 et seq. (“NRS 604A”), and the harassment of

Plaintiff by the Defendant and its agents in their illegal efforts to collect a high-

interest loan as defined under this Chapter.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Defendants have through their conduct in collecting a loan governed

by NRS 604A violated NRS 604A.415.

      5.     Defendant CASH 1, LLC is a “licensee” as that term is defined by

NRS 604A.

      6.     NRS 604A.415 incorporates the Fair Debt Collection Practices Act

(FDCPA), as amended, 15 U.S.C. §§ 1692a to 1692j, which applies herein “even if

the licensee is not otherwise subject to the provisions of the [FDCPA].”

      7.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims pursuant to 28 U.S.C.

§ 1331. Mims v. Arrow Fin. Serv., LLC, 132 S.Ct. 740 (2012).

      8.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of
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the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                      PARTIES
      9.      The Plaintiff, LEISA WHITTUM (“Plaintiff” or “Ms. Whittum”), is

an adult individual residing in Las Vegas, Nevada.

      10.     Plaintiff is, and at all times mentioned herein was, a “person” as

defined by 47 U.S.C. § 153(39).

      11.     Defendant CASH 1, LLC (“Defendant” or “CASH 1”), is doing

business in the State of Nevada.

      12.     CASH 1 is also licensed as a “Deferred Deposit Loans, High-interest

loans, Title Loans and Check-Cashing” business with the State of Nevada, Dept. of

Business & Industry (“FID”) and has a License No. CDTHB11243 with the FID.

      13.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      14.     CASH 1 at all times acted by and through one or more of the

Collectors.

              ALLEGATIONS APPLICABLE TO ALL COUNTS

A. The Debt


      15.     Plaintiff allegedly incurred a financial obligation (the “Debt”) to

CASH 1, LLC (the “Creditor” or “CASH 1”).
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      16.    The Debt was a “high-interest loan” as defined by NRS 604A.0703.

      17.    NRS 604A.415 provides that:

             If a customer defaults on a loan, the licensee may collect
             the debt owed to the licensee only in a professional, fair
             and lawful manner. When collecting such a debt, the
             licensee must act in accordance with and must not violate
             sections 803 to 812, inclusive, of the federal Fair Debt
             Collection Practices Act, as amended, 15 U.S.C. §§
             1692a to 1692j, inclusive, even if the licensee is not
             otherwise subject to the provisions of that Act.

      18.    As such, a violation of the Fair Debt Collection Practices Act

(FDCPA) a though j is also a violation of NRS 604A.415.

B. CASH 1 Engages in Harassment and Abusive Tactics

                                       FACTS

      19.    Within the two years prior to filing the instant complaint, the Plaintiff

obtained a pay day loan from CASH 1 on May 28, 2016.

      20.    Struggling to meet her financial obligations and due to work hours

having been cut without notice, the Plaintiff defaulted on her obligation to CASH 1

on or about June 24, 2016.

      21.    After default, CASH 1 attempted to collect the Debt and, as such,

engaged in “communications” as defined in 15 U.S.C. § 1692a(2).

      22.    CASH 1 placed calls, sent texts and emails to the plaintiff to collect

the Debt after the plaintiff’s default in June 2016.

      23.    During the collection calls that the Plaintiff answered, the Plaintiff
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advised CASH 1 that she was struggling to meet her financial obligations and was

not in a position to repay the loan and asked that CASH 1 cease contacting her.

      24.      However, CASH 1 continued placing calls and sending text messages

to the Plaintiff’s cellular telephone despite the Plaintiff’s foregoing efforts to

restrict CASH 1’s collection calls.

      25.      Making matters worse, CASH 1 called the Plaintiff’s cell phone from

several different unidentified or unknown numbers causing the Plaintiff to answer

CASH 1’s collection calls she may otherwise have been able to ignore, but for

CASH 1’s “spoofing” ruses. This caused the Plaintiff to suffer significant distress,

since she was unable to identify calls she wanted to answer from collection calls

she sought to restrict.

      26.      On or about July 1, 2016, Plaintiff retained the services of an attorney

to assist her with managing her obligations, like the debt owed to CASH 1, LLC,

and to assist her in ending the harassment she had endured as a result of CASH 1’s

debt collection practices.

      27.      Within twenty-four (24) hours after retaining counsel, Plaintiff

contacted CASH 1 and instructed CASH 1 to stop calling her and told CASH 1 that

she was represented by an attorney.

      28.      The Plaintiff also provided CASH 1 with her attorney’s contact

information.
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       29.    Plaintiff instructed CASH 1 to contact her attorney only and to stop

calling the Plaintiff.

       30.    Notwithstanding CASH 1’s notice of Plaintiff’s attorney

representation, CASH 1 continued communications with the Plaintiff and

continued calling her, in violation of her request, in an attempt to collect the debt.

       31.    Significantly, CASH 1 called the Plaintiff’s cell phone and texted her

on her cell phone on numerous occasions even after being repeatedly told to cease

and desist from making calls and to stop contacting the Plaintiff because she was

represented by counsel.

       32.    Plaintiff’s repeated requests to CASH 1 were to no avail; the abusive

and incredibly annoying calls and texts continued.

       33.    This lawsuit results.

C. Plaintiff Suffered Actual Damages

       34.    The Plaintiff has suffered and continues to suffer actual damages as a

result of CASH 1’s unlawful conduct.

       35.    Further, Plaintiff alleges that Defendant’s actions at all times herein

were “willful.”

       36.    As a direct consequence of Defendant’s harassing phone calls, acts,

practices and conduct, the Plaintiff suffered and continues to suffer from anger,

anxiety, emotional distress, frustration, rage, headaches, an upset stomach, heart
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palpitations, and has otherwise been totally annoyed by Defendant’s intrusive and

illegal collection efforts. Plaintiff has also lost the use of personal and family time

while enduring these frustrations.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      37.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      38.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      39.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.
      40.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      41.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The
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FCC also recognized that wireless customers are charged for incoming calls. 1

       42.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party. 2

       43.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC 3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       44.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.

       45.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
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      46.      Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

      47.      Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

            ALLEGATIONS APPLICABLE TO ALL TCPA COUNTS
      48.      Within the four years prior to filing the instant complaint, the Plaintiff

received numerous calls from the Defendant.

      49.      Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).

      50.      Defendant or its agent/s contacted Plaintiff on Plaintiff’s cellular

telephone number ending in “0708” via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A). Specifically, there were slight

pauses before each call connected.

      51.      In early June and again on June 30, 2016, Plaintiff instructed Defendant

or its agent(s) not to call the Plaintiff’s cell phone ever again thereby revoking

consent, if any ever existed, to be contacted by Defendant via an ATDS.

      52.      However, Defendant placed calls to the Plaintiff’s cellular telephone

without consent using an ATDS in violation of the TCPA.
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      53.    Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

      54.    The telephone number that Defendant used to contact Plaintiff was and

is assigned to a cellular telephone service as specified in 47 U.S.C. §

227(b)(1)(A)(iii).

      55.    Defendant’s calls to Plaintiff’s cellular telephone were not for

“emergency purposes.”

      56.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call

Plaintiff’s cellular phone with an ATDS.

      57.    However, even after Plaintiff revoked consent, CASH 1 continued

calling Plaintiff’s cellular telephone using an ATDS in violation of the TCPA.

      58.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory

Ruling, the burden is on Defendant to demonstrate that it had prior express consent

to call Plaintiff’s cellular phone with an ATDS.

      59.    The Plaintiff suffered actual harm and loss, since the unwanted calls

depleted the Plaintiff’s cell phone’s battery, and the cost of electricity to recharge the

phone is a tangible harm. While small, this cost is a real one, and the cumulative

effect can be consequential, just as is true for exposure to X-rays resulting from the

Defendant’s unwanted phone calls to the Plaintiff’s cell phone.
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      60.    Plaintiff also suffered from an invasion of a legally protected interest by

placing calls to the Plaintiff’s personal phone line when the Defendant had no right to

do so, resulting in an invasion of Plaintiff’s right to privacy. The TCPA protects

consumers from this precise behavior.

      61.    Plaintiff has a common law right to privacy. E.g., Samuel D. Warren &

Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      62.    Plaintiff was also personally affected, since the Plaintiff felt that the

Plaintiff’s privacy had been invaded when the Defendant placed calls to the

Plaintiff’s phone line without any consent to do so.

      63.    The injury suffered by Plaintiff is concrete because Defendant’s

violations caused Plaintiff to suffer an invasion of privacy.

                                       COUNT I

                             Violations of the FDCPA
                     (as incorporated through NRS 604A.415)

      64.    The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.

      65.    Any violation of 15 U.S.C. §§ 1692a through j constitutes a violation

of NRS 604A.415.

      66.    The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that

Defendant contacted the Plaintiff after it knew Plaintiff was represented by an
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attorney.

      67.    The Defendants’ conduct violated 15 U.S.C. § 1692d in that

Defendants engaged in behavior the natural consequence of which was to harass,

oppress, or abuse the Plaintiff in connection with the collection of a debt.

      68.    The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that

Defendant placed calls to the Plaintiff without disclosing the Defendant’s identity

in connection with the collection of a debt.

      69.    The Defendants’ conduct violated 15 U.S.C. § 1692e in that

Defendants engaged in false, deceptive or misleading behavior in connection with

the collection of a debt. Specifically, by spoofing and otherwise circumventing

CASH 1’s true phone number, so the Plaintiff’s called ID would not identify

incoming calls from CASH 1 resulting her in answering calls she would otherwise

have avoided, but for CASH 1’s ruses.

      70.    The Defendants’ conduct violated 15 U.S.C. § 1692f in that

Defendants used unfair and unconscionable means to collect a debt and attempted

to humiliate and belittle Plaintiff.

      71.    The foregoing acts and omissions of the Defendants constitute

numerous and multiple violations of the FDCPA (and therefore also constitute

violations of NRS 604A.415), including every one of the above-cited provisions.

      72.    The Plaintiff is entitled to damages as a result of Defendants’
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violations.

       73.    The Plaintiff has been required to retain the undersigned as counsel to

protect the Plaintiff’s legal rights to prosecute this cause of action, and is therefore

entitled to an award or reasonable attorneys’ fees plus costs incurred.

                                      COUNT II

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

       74.    Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

       75.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiff without Plaintiff’s prior express consent.

       76.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

       77.    As a result of Defendant’s negligent violations of the TCPA, Plaintiff

is entitled to an award of $500.00 in statutory damages for each call in violation of

the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

       78.    Additionally, Plaintiff is entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

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///
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                                      COUNT III

                      Knowing and/or Willful Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      79.      Plaintiff repeats and realleges the above paragraphs of this Complaint

and incorporates them herein by reference.

      80.      Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiff without Plaintiff’s prior express consent.

      81.      Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      82.      As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiff is entitled to an award of treble damages up to $1,500.00 for each

call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

      83.      Additionally, Plaintiff is entitled to seek injunctive relief prohibiting

such conduct by Defendant in the future.

                               PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants awarding the Plaintiff:

      1. for consequential damages pursuant to NRS 604A.930 against each and

            every Defendant for Plaintiff;
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       2. for statutory damages pursuant to NRS 604A.930 against each and every

          Defendant for Plaintiff;

       3. for an award of actual damages pursuant to NRS 604A.930 against each

          and every Defendant for Plaintiff;

       4. for an award of punitive damages pursuant to NRS 604A.930 against each

          and every Defendant for Plaintiff;

       5. for an award of costs of litigation and reasonable attorney’s fees pursuant

          to NRS 604A.930 against each and every Defendant for Plaintiff;

       6. “void” the Debt, bar Defendant from collecting thereon, and compel the

          Defendant to turnover any principal, interest or other charges or fees

          collected on the Debt pursuant to NRS 604A.900(1).

       7. Injunctive relief prohibiting such violations of the TCPA by Defendant in

          the future;

       8. Statutory damages of $500.00 for each and every call in violation of the

          TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

       9. Treble damages of up to $1,500.00 for each and every call in violation of

          the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

       10. any other legal or equitable relief that the court deems appropriate.

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            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 26, 2016

                                  Respectfully submitted,
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